                                EXHIBIT A




Case 3:14-cv-00336-TWP-CCS Document 1-1 Filed 07/18/14 Page 1 of 14 PageID #: 12
                                                                              Service of Process
                                                                              Transmittal
                                                                              06/18/2014
                                                                              CT Log Number 525162552
     TO:     Legal Intake B6-263B
             Sears Holdings Corporation
             3333 Beverly Road
             Hoffman Estates, IL 60179-

     RE:     Process Served in Tennessee
     FOR:    Sears, Roebuck and Co. (Domestic State: NY)




     ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

     TITLE OF ACTION:                 Melissa K. Brabson, Pltf. vs. Sears, Roebuck and Co. and Tim Lockhart, etc., Dfts.
     DOCUMENT(S) SERVED:              Summons, Complaint, Notice, Cost Bond
     COURT/AGENCY:                    Knox County Circuit Court, TN
                                      Case # 239014
     NATURE OF ACTION:                    Employee Litigation - Wrongful Termination - September 2013
     ON WHOM PROCESS WAS SERVED:      C T Corporation System, Knoxville, TN
     DATE AND HOUR OF SERVICE:            By Process Server on 06/18/2014 at 09:15
     JURISDICTION SERVED :            Tennessee
     APPEARANCE OR ANSWER DUE:        Within 30 days after service, exclusive of the day of service
     ATTORNEY(S) / SENDER(S):         Michael C. Inman
                                      Melissa K. Brabson
                                      9111 Cross Park Drive
                                      Suite E-290
                                      Knoxville, TN 37923
                                      865-470-4770
     ACTION ITEMS:                    CT has retained the current log, Retain Date: 06/18/2014, Expected Purge Date:
                                      06/23/2014
                                      Image SOP
                                      Email Notification, Legal Intake B6-263B legalint@searshc.com
     SIGNED:                          C T Corporation System
     PER:                             Amy McLaren
     ADDRESS:                         800 S. Gay Street
                                      Suite 2021
                                      Knoxville, TN 37929-9710
     TELEPHONE:                       800-592-9023




                                                                              Page 1 of 1 / BB
                                                                              Information displayed on this transmittal is for CT Corporation's
                                                                              record keeping purposes only and is provided to the recipient for
                                                                              quick reference. This information does not constitute a legal
                                                                              opinion as to the nature of action, the amount of damages, the
                                                                              answer date, or any information contained in the documents
                                                                              themselves. Recipient is responsible for interpreting said
                                                                              documents and for taking appropriate action. Signatures on
                                                                              certified mail receipts confirm receipt of package only, not
Case 3:14-cv-00336-TWP-CCS Document 1-1 Filed 07/18/14 Page 2 of 14 PageID #: 13
                                                                              contents.
                   IN THE CIRCUIT COURT FOR KNOX COUNTY, TENNESSEE

   MELISSA K. BRABSON,                                   FILED)
                                                          18 Rill 859

   v.                                           CATHERINE F.)QUISTpocket No. cZ-370
                                               CIRCUIT COUR1CLER
   SEARS, ROEBUCK AND CO.,                 )
                                           )
   and                                     )
                                           )
   TIM LOCKHART in his capacity as Manager,)
                                           )
                         Defendants.       )

                                                       SUMMONS
   To the above-named defendant(s):
             You are hereby summoned and required to serve upon Michael C. Inman, Plaintiff=s attorney, whose
   address is 9111 Cross Park Drive, Suite E-290, Knoxville, Tennessee 37923, an answer to the complaint herewith
   served upon you within 30 days after service of this summons and complaint upon you, exclusive of the day of
   service. If you fail to do so, judg b efaul     n be taken against you for the-relief demanded in the complaint.

            Issued and tested this tO —day of




                                                          Deputy Clerk

                                                            NOTICE
   To the defendant(s):
              Tennessee law provides a ten thousand dollar ($10,000) personal property exemption from execution or
   seizure to satisfy a judgment. If a judgment should be entered against you in this action and you wish to claim
   property as exempt, you must file a written list, under oath, of the items you wish to claim as exempt with the clerk of
   the Court. The list may be filed at any time and may be changed by you thereafter as necessary; however, unless it
   is filed before the judgment becomes final, it will not be effective as to any execution or garnishment issued prior to
   the filing of the list. Certain items are automatically exempt by law and do not need to be listed; these include items
   of necessary wearing apparel for yourself and your family and trunks or other receptacles necessary to contain such
   apparel, family portraits, the family bible, and school books. Should any of these items be seized, you would have
   the right to recover them. If you do not understand your exemption right or how to exercise it, you may wish to seek
   counsel of a lawyer.

                                                  SERVICE INFORMATION
   To the process server:
   Defendant:         SEARS, ROEBUCK AND CO.
                      CT Corporation Systems
                      800 South Gay Street, Ste.2021
                      Knoxville, Tennessee 37929
   I received this summons on the          day of              , 20...
   I hereby certify and return that on the     day of                , 20         , I:
   ( ) served this summons and a complaint on defendant                                                  in the following
   manner:

   ( ) failed to serve this summons within 30 days after its issuance because:




Case 3:14-cv-00336-TWP-CCS Document    1-1 Filed
                              Sheriff! Process     07/18/14 Page 3 of 14 PageID #: 14
                                               Server
                IN THE CIRCUIT COURT FOA &be COUNTY; TENNESSEE

   MELISSA K. BRABSON,                                 8 55
                                    ?11111 JUN 18
                         PlaintqATHERINE QUIST
                               CIRCUIT coal- CLERK
   v.                                      )    Docket No.                   3,t)—/--
                                           )
   SEARS, ROEBUCK AND CO.,                 )
                                           )
   and                                     )
                                           )
   TIM LOCKHART in his capacity as Manager,)
                                           )
                         Defendants.       )

                                        COMPLAINT

          Comes the Plaintiff, Melissa K. Brabson, ("Plaintiff') by and through counsel, and
   brings this cause of action against the Defendants Sears, Roebuck and Co. and Tim
   Lockhart in his capacity as Manager, states as follows:


                               I. JURISDICTION AND VENUE
         1.     This action is brought pursuant to the Tennessee Public Protection Act,
   T.C.A. § 50-1-304, et. seq., the Tennessee Human Rights Act, T.C.A. § 4-21-101, et.
   seq., and theories of common law retaliation.


         2.     Venue is proper as the acts complained of occurred in Knoxville,
   Tennessee.
         3.     Plaintiff obtained her "right to sue" letter from the United State Equal
   Employment Opportunity Commission on March 26, 2014 (attached as Exhibit "A" to
   this Complaint). All other administrative remedies have been exhausted.


                                         II. PARTIES
         4.     Plaintiff, Melissa K. Brabson, is an African-American citizen of the United
   States and resides at 141 Parkview Drive, Meridianville, Alabama 35759, but at all




Case 3:14-cv-00336-TWP-CCS Document 1-1 Filed 07/18/14 Page 4 of 14 PageID #: 15
   pertinent times herein the Plaintiff was a resident of Blount County, 1126 Worthington
   Blvd., Maryville, TN 37801.
          5.     Defendant Sears, Roebuck and Co. is a foreign corporation duly
   organized and existing under the laws of the State of New York, and maintains its
   principal place of business in Hoffman Estates, Illinois, and is duly qualified to transact
   business in the State of Tennessee. Defendant Sears, Roebuck and Co. can be served
   with process through its registered agent CT Corporation Systems at 800 South Gay
   Street, Suite 2021, Knoxville, Tennessee 37929.
          6.     Defendant, Tim Lockhart, was at all pertinent times believed to be a
   Tennessee resident. At all pertinent times herein, Tim Lockhart was employed by
   Defendant Sears, Roebuck and Co. as the white male manager on duty who directly
   supervised the Plaintiff. This Defendant can be served with service of process at Bed,
   Bath and Beyond located at 7600 Kingston Pike, Knoxville, TN 37919, and is sued in his
   capacity as manager while working at Sears, Roebuck and Co.
         7.     Defendant Sears, Roebuck and Co. is hereafter referred to as "Employer."
         8.     All Defendants named in Paragraphs 5-7 herein are sometimes
   collectively referred to hereinafter as "Sears Defendants."
         9.     Upon information and belief, the Employer has employed over 500
   employees at all times pertinent.
         10.    At all times relevant herein, the Defendant, Tim Lockhart and other
   employees under his control were employees, servants, agents, and/or representatives
   of Defendant Employer and as such, are liable to Plaintiff for the actions of their
   employees and representatives under the doctrine of respondeat superior.
         11.    Upon information and belief, Defendant Employer, conducted sales,
   received monetary gains, and/or profits for their business as a result of their
   employment of the Defendant Tim Lockhart manager and employees under his control
   paid monetary compensation to these employees for their work.
         12.    Upon information and belief, at all times material and relevant, Defendant
   Employer, knowingly, consciously, and/or purposely organized and placed the
   Defendant Tim Lockhart manager and employees under his control in their respective
   employment roles with Defendant Employer to obtain monetary gain.


Case 3:14-cv-00336-TWP-CCS Document 1-12 Filed 07/18/14 Page 5 of 14 PageID #: 16
           13.   At the time of the conduct that injured Plaintiff, Defendant Tim Lockhart,
   managers, and employees under his control and supervision were acting within the
   scope of their employment duties and as the agent of Defendant Employer and their
   conduct was therefore imputable to Defendant Employer under the doctrine of
   respondeat superior.
           14.   As a result of the actions perpetrated by Defendant Employer, Defendant
   Tim Lockhart, or employees described herein, the Plaintiff suffered damages and losses
   set forth in this Complaint for which the Defendants are jointly and severally liable.


                                 III. FACTUAL ALLEGATIONS
           15.   Plaintiff, an African-American female, was hired in August 10, 1993, by
   Employer, most recently the Plaintiff worked at the Sears Unit #1395 at West Town
   Store, under Defendant Tim Lockhart from 2010 until her termination in September
   2013.
           16.   Plaintiff was employed in several different facets of the company but most
   recently was an assistant store manager.
           17.   During all times relevant to this Complaint, Plaintiff was employed with and
   by The Employer.
           18.   During the summer of 2011, the Plaintiff informed another store employee
   named Adam LeVan that Sears' policies and practices required the use of Consultative
  Sales Associates for certain non-sales duties. This entailed said employee to move
  more appliances and perform other manual labor duties during hours that they were
   supposed to be selling appliances, as well as before and after the store opened beyond
   the Sears, Roebuck and Co. Manual that mandated payment over two hours per week,
   which said store was violating.
           19.   After this noted violation of company payment polices the store general
   manager, Defendant Tim Lockhart threatened the employees stating, "Sears is hiring all
   the time, we can hire new employees."
           20.   Employees Adam LeVan and Daryl Sims reported said threats and
  underpayment to Sears Ethics Hotline, which began an investigation in the store.
  Shortly, thereafter these employees were confronted about the report by Defendant,


Case 3:14-cv-00336-TWP-CCS Document 1-13 Filed 07/18/14 Page 6 of 14 PageID #: 17
   Tim Lockhart and were later fired. Employees Adam LeVan and Daryl Sims
   subsequently filed a lawsuit in the United States District Court for the Eastern District of
   Tennessee at Knoxville, Docket No.: 3:11-CV-578 based upon said violations and
   termination.
           21.     After said investigation was initiated Defendant Tim Lockhart's treatment
   of the Plaintiff significantly worsened.
           22.     Defendant, Tim Lockhart denied Plaintiffs vacation time during the month
   of March 2012, and continually humiliated the Plaintiff to other employees with verbal
   slurs about her race knowing said slurs were being reported back to the Plaintiff.
           23.     Defendant, Tim Lockhart stated on many occasions to the Plaintiff that he
   did not like her and wanted her out of his store, which was followed by the Defendant,
   Tim Lockhart holding manager meetings, who were all white, to discuss a plan to get rid
   of the Plaintiff.
          24.     As part of effort to get rid of the Plaintiff, Defendant, Tim Lockhart began in
   July of 2013 an extensive work list specifically created and added to the Plaintiffs duties
   unlike the other employees.
          25.      The Plaintiff reported the harassment and treatment by Defendant Tim
   Lockhart to the Sears District Store Manager Kevin Dornfeld on several occasions but
   no action was taken.
          26.     Defendant Tim Lockhart followed this harassment, which culminated with
   threats to other employees to fill out evaluations and complaints concerning the Plaintiff
   to be filed with corporate 88Sears by threating loss of their jobs. The Plaintiff was
   subsequently terminated after numerous threats by Defendant Tim Lockhart that if she
   did not willingly quit she would be fired.




                                         IV. CAUSES OF ACTION
          27.      The Plaintiff adopts all matters previously set forth in this complaint.




Case 3:14-cv-00336-TWP-CCS Document 1-14 Filed 07/18/14 Page 7 of 14 PageID #: 18
            A. NEGLIGENT DELEGATION OF DUTY TO HIRE AND TRAIN

                  COMPETENT EMPLOYEES

            28.   Employer had a duty of reasonable care owed to the Plaintiff to hire, train,
   and retain competent, and qualified employees.
            29.   Employer negligently breached their duty of reasonable care by hiring and
   retaining in their employ their agents and representatives who were incompetent, and
   unfit.
            30.    Employer's failure to exercise their duties owed to the Plaintiff in hiring
   and retaining in their employ incompetent and unfit employees was a proximate cause
   of the Plaintiffs injuries.
            31.   Employer's actions and omissions were willful and wanton behavior, with
   complete and gross disregard for the Plaintiffs well being.
            32.   Employer failed to exercise ordinary and reasonable care in their hiring
   and training practices, especially in the hiring and training practices of their employees,
   agents or representatives and in the hiring and training of Defendant Tim Lockhart
  manager, and did not hire or train competent and careful employees that could protect
  fellow employees.
            33.   Employer breached their duty to exercise ordinary and reasonable care in
  their supervision of their employees' agents or representatives.
            34.   As a direct result of the negligence of the Employer, the Plaintiff has been
   damaged and is entitled to recover from the Sears Defendants for her injuries including
  lost wages, future loss of wages, and pain and suffering.


            B. TENNESSEE PUBLIC PROTECTION ACT
            35.   Plaintiff alleges that the actions and omissions of the Sears Defendants as
  set forth in paragraphs 1 to 34 were discriminatory and retaliatory and on account of her
  race and gender in violation of the Tennessee Human Rights Act, T.C.A. §4-21-101, et.
  seq., and theories of common law retaliation.




Case 3:14-cv-00336-TWP-CCS Document 1-15 Filed 07/18/14 Page 8 of 14 PageID #: 19
          36.   The Sears Defendants acted intentionally, recklessly and/or maliciously,
   by permitting its work environment to become hostile and in subjecting the plaintiff to
   disparate treatment dissimilar to the treatment of Caucasian male employees.
          37.   The Sears Defendants actions and omissions did discriminate against the
   Plaintiff on account of her race and gender with respect to her compensation, terms,
   conditions and privileges of her employment.
          38.   The Plaintiff, on account of her race and gender, was subjected to
   disparate and unfair treatment, retaliation, harassment and intimidation by the Sears
   Defendants, its employees, agents and/or assigns in violation of the Tennessee Human
   Rights Act, T.C.A. §4-21-101, et. seq.
          39.   At all times referenced herein, the Sears Defendants had knowledge that
   its actions were in in violation of the Tennessee Human Rights Act, T.C.A. §4-21-101,
   et. seq.
          40.   The actions of the Sears Defendants as alleged herein also constitute
   unlawful retaliation against the Plaintiff for opposing the defendants' discriminatory
   practices in violation of the Tennessee Human Rights Act, T.C.A. §4-21-101, et. seq.
          41.   The Plaintiff alleges that the conduct of the Sears Defendants constitutes
   discrimination against her affecting a term, condition, or privilege of employment
   because of her race and gender, in violation of the Tennessee Human Rights Act,
   T.C.A. §4-21-101, et. seq.
          42.   This lawsuit is timely filed.
          43.   As a result of the Sears Defendants' conduct, the Plaintiff has lost tangible
  job benefits, including loss of income and benefits, both past and future, and she has
   and will continue to suffer irreparable injury, emotional distress, humiliation and
   embarrassment, and other pecuniary losses as a direct result of Defendants' illegal
   actions.
          44.   Plaintiff alleges that the conduct of the Sears Defendants was intentional,
  malicious, willful and in reckless disregard for Plaintiffs protected rights so as to justify
   an award of substantial punitive damages against the Defendants.




Case 3:14-cv-00336-TWP-CCS Document 1-1 Filed 07/18/14 Page 9 of 14 PageID #: 20
                                                6
          C. COMMON LAW RETALIATORY DISCHARGE
          45.     The actions and omissions of the Sears Defendants as alleged herein
   constitutes common law retaliation, in that the Plaintiff was discharged for exercising her
   protected right to make complaint and report the illegal and discriminatory practices of
   the Defendants.
          46.     The actions of the Sears Defendants were in willful, intentional, reckless
   and/or malicious, and in reckless disregard of the Plaintiffs rights such as to justify the
   imposition of liquidated damages.
          47.     The Plaintiff avers that the facts described herein constitute a violation of
   the Tennessee Public Protection Act, § 50-1-304 et. seq., in that Plaintiffs employment
   was terminated by Sears Defendants for her refusal to remain silent and for making
   formal complaints regarding the Defendants' illegal and discriminatory practices in
   violation of Tennessee Public Protection Act, § 50-1-304 et. seq.
          48.     The actions of the Sears Defendants were in willful, intentional, reckless
   and/or malicious, and in reckless disregard of the Plaintiffs rights such as to justify the
   imposition of liquidated damages.
          49.    Plaintiff alleges that the actions and omissions of the Sears Defendants as
   set forth in paragraphs 1 to 48 were retaliatory and in violation of Tennessee Public
   Protection Act, § 50-1-304 et. seq.
          50.    At all times referenced herein, the Sears Defendants had knowledge that
   its actions were in violation of Tennessee Public Protection Act, § 50-1-304 et. seq.


                                             V. DAMAGES
          51.    Paragraphs 1 through 50 are hereby realleged and incorporated in full by
   reference as if fully set forth herein.
          52.    As a direct and proximate result of each and every of the foregoing acts,
   conduct, and violations of statutory law by the Sears Defendants as alleged herein,
   Plaintiff has suffered damages in an amount according to proof, including but not limited
   to, lost wages, lost benefits, lost interest on wages and benefits, inconvenience,




Case 3:14-cv-00336-TWP-CCS Document 1-17 Filed 07/18/14 Page 10 of 14 PageID #: 21
   embarrassment and humiliation, loss of lifetime earning capacity, and other incidental
   and consequential damages and expenses.
          53.     Upon information and belief, the wrongful acts and retaliation of Sears
   Defendants alleged herein in violation of the applicable law were intentional and/or were
   done with knowing and/or reckless disregard of the Plaintiffs rights and law of
   Tennessee. Plaintiff is therefore entitled to seek an award of punitive damages in an
   amount according to proof under applicable Law.
          54.     Plaintiff is further entitled to reasonable attorney's fees and costs pursuant
   to the TPPA.
          55.     Plaintiff further seeks an award of additional funds to compensate her for
   the adverse tax consequences which she will suffer due to the Defendants' illegal acts
   preventing her from receiving income and paying taxes on same in a timely fashion over
   a multiple year period.
          56.     Plaintiff further seeks pre and post judgment interest.


          WHEREFORE, Plaintiff prays for judgment against the Defendants and Plaintiff
   prays from the following relief:
          1).     Compensatory damages and front pay;
          2).     Liquidated damages;
          3).     Punitive damages;
          4).     Reasonable attorney's fees and expert witness fees;
          5).     Costs of this action;
          6).     A jury to try this cause;
          7).     Prejudgment interest; and
          8).     Appropriate equitable relief, including ordering Defendants to provide
   health or medical insurance coverage, and ordering Defendants to abide by the above-
   referenced statutes, the applicable rules, directives, orders and/or regulations of the
   EEOC, and for key employees to receive appropriate training.




Case 3:14-cv-00336-TWP-CCS Document 1-1 Filed 07/18/14 Page 11 of 14 PageID #: 22
                                                 8
         Respectfully Submitted this /7 day of           , 20/'t.




                                        MELISSA K. BRABSON




                                        By:
                                        Michael C. Inman, BPR #022858
                                        Attorney for Plaintiff
                                        9111 Cross Park Drive
                                        Suite E-290
                                        Knoxville, Tennessee 37923
                                        (865) 470-4770




Case 3:14-cv-00336-TWP-CCS Document 1-19 Filed 07/18/14 Page 12 of 14 PageID #: 23
  EEOC Form 161-B (11/09)                  U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                         NOTICE OF RIGHT TO                    T..e6SUED ON REQUEST)
 To:    Melissa K. Brabson                                                             From:    Nashville Area Office
        141 Parkview Drive                                                                   S5220 Athens Way
        Meridianville, AL 35759                                  fliM AN 18 R19 8               Suite 350
                                                                                                Nashville, TN 37228
                                                                   CATHERINE F. QUIST
                                                                  CIRCUIT COURT CLERK

                  On behalf of person(s) aggrieved whose identity is
                  CONFIDENTIAL (29 CFR §1601.7(a))

 EEOC Charge No.                                         EEOC Representative                                            Telephone No.
                                                         David J. Smith,
 494-2013-01987                                          Investigator                                                   (615) 736-5928
                                                                                   (See also the additional information enclosed with this form.)
NOTICE TO THE PERSON AGGRIEVED:

Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)

        X         More than 180 days have passed since the filing of this charge.

                  Less than 180 days have passed since the filing of this charge, but I have determined that it is unlikely that the EEOC will
                  be able to complete its administrative processing within 180 days from the filing of this charge.
        X         The EEOC is terminating its processing of this charge.

                , The   EEOC will continue to process this charge.
Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to
your case:
                  The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHIN
                  90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.


                  The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
                  you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 years), before you file suit may not be collectible.

If you file suit, based on this charge, please send a copy of your court complaint to this office.


                                                                         On behalf of the Commission

                                                                                                                         MAR 2 6 2014

Enclosures(s)                                                                                                               (Date Mailed)
                                                                          arah L. Smith,
                                                                       Area Office Director

CC:
              Vivian M. Torres                                                        Michael C. Inman, Esq.
              Ethployee Relations                                                     INMAN & WATERS
              SEARS ,HOLDING, INC.                                                    9111 Cross Park Drive, Suite E-290
              3333 Beverly Road                                                       Knoxville, TN 37923
              A3-130B
              Hoffman Estates, IL 60179

      Case 3:14-cv-00336-TWP-CCS Document 1-1 Filed 07/18/14 Page 13 of 14 PageID #: 24
                        IN THE CIRCUIT COURT pkigNOX COUNTY, TENNESSEE

         MELISSA K. BRABSON,
                                               /1119 JUN 18 RI 8 SS
                               PlaiMERINE F. U1ST

         v.
                                  CIRCUIT COURT bLERK
                                                 )    Docket No.                                                 47-
                                                 )
         SEARS, ROEBUCK AND CO.,                 )
                                                 )
         and                                     )
                                                 )
         TIM LOCKHART in his capacity as Manager,)
                                                 )
                               Defendants.       )
                                                         COST BOND

         I, Melissa K. Brabson as Principal(s) and Michael C. Inman as Surety are held and firmly bound unto the
         Circuit Court Clerk of Knox County, Tennessee for the payment of all costs awarded against the principal. To
         that end, we bind ourselves, our heirs, executers, and administrators.

         The Principals(s) is/are commencing legal proceeding in the Circuit Court of Knox County, Tennessee. If the
         Principal(s) shall pay all cost which are adjudged against them then this obligation is void. If the Principal(s)
         fail to pay then the Surety shall undertake to pay all costs adjudged against the Principal(s). Mandated at
         T.C.A. '20-12-120 et seq.

                                                        PRINCIPAL(S)

         Melissa K. Brabson
         Principal
         141 Parkview Dr.,
         Meridianville, Alabama 35759
         Address

                                                             SURETY

         Michael C. Inman, Attorney
         SURETY
         9111 Cross Park Drive
         Suite E-290
         Knoxville, TN 3792


         SIGNATURE OF SURETY




Case 3:14-cv-00336-TWP-CCS Document 1-1 Filed 07/18/14 Page 14 of 14 PageID #: 25
